Case 3:19-cv-00347-LAB-JLB Document 24 Filed 09/17/19 PageID.478 Page 1 of 4




  1 Stephanie R. Tatar – State Bar No. 237792
    TATAR LAW FIRM, APC
  2
    3500 West Olive Avenue, Suite 300
  3 Burbank, California 91505
    Telephone: (323) 744-1146
  4
    Facsimile: (888) 778-5695
  5 Stephanie@thetatarlawfirm.com
  6
      Thomas J. Lyons Jr., Esq.
  7   (Admitted Pro Hac Vice)
      CONSUMER JUSTICE CENTER P.A.
  8
      367 Commerce Court
  9   Vadnais Heights, MN 55127
10    Telephone: (651) 770-9707
      Facsimile: (651)704-0907
11    tommy@consumerjusticecenter.com
12
   Attorney for Plaintiffs
13 Tyanna Walker, Samantha Sanchez,
14 Terry Hunt, Joe Cardenas, Vladimir Tejada,
   Roberto Huerta, Michelle Rice,
15 and the class
16
                           UNITED STATES DISTRICT COURT
17                      SOUTHERN DISTRICT OF CALIFORNIA
18    Tyanna Walker, Samantha Sanchez,
      Terry Hunt, Joe Cardenas, Vladimir ) Case No. 3:19-cv-00347-LAB-JLB
19    Tejada, Roberto Huerta, and )
20    Michelle Rice on behalf of themselves )
      and of others similarly situated,     )
21                                          )
22                        Plaintiffs,       )
      v.                                    )
23
                                            ) JOINT MOTION TO DISMISS
24    The Control Group Media Company, )         WITHOUT PREJUDICE
      Inc., Instant Checkmate, LLC, and )
25
      TruthFinders, LLC,                    )
26                                          )
                          Defendants.       )
27
28
                                     1
                 JOINT MOTION TO DISMISS WITHOUT PREJUDICE
Case 3:19-cv-00347-LAB-JLB Document 24 Filed 09/17/19 PageID.479 Page 2 of 4




  1         Plaintiffs Tyanna Walker, Samantha Sanchez, Terry Hunt, Joe Cardenas,
  2 Vladimir Tejada, Roberto Huerta, and Michelle Rice (collectively, “Plaintiffs”) and
  3 Defendants The Control Group Media Company, LLC, Instant Checkmate, LLC,
  4 and TruthFinder, LLC (collectively, “Defendants”) (Plaintiffs and Defendants
  5 collectively referred to as the “Parties”) file this joint motion to dismiss this case
  6 without prejudice so that it can be arbitrated.
  7         The Parties agree that the claims in this case should be arbitrated.
  8 Specifically, Plaintiffs are not challenging that they are bound by the mandatory
  9 arbitration and class action waiver provisions set forth in Defendants’ website terms
10 of use and thus their claims must be brought in the claimants’ individual capacity
11 and not in a representative or class capacity before an arbitrator with the American
12 Arbitration Association.
13          The Parties, therefore, request that the Court dismiss this case without
14 prejudice. The Parties further agree that, with the granting of their joint motion,
15 Defendants’ Motion to Dismiss (Doc. 7) will be moot, except to the extent it will be
16 decided in arbitration.
17          Accordingly, the Parties request that the Court (1) dismiss this case without
18 prejudice, and (2) deny Defendants’ Motion to Dismiss (Doc. 7) as moot, without
19 prejudice to Defendants.
20          Dated this 17th day of September, 2019.
21
22          Respectfully Submitted,
23 By: David George, Esq.
24 Stephanie R. Tatar (SBN 237792
25 TATAR LAW FIRM, APC
   3500 West Olive Avenue, Suite 300
26 Burbank, California 91505
   Telephone: (323) 744-1146
27 Facsimile: (888) 778-5695
   Stephanie@thetatarlawfirm.com
28
                                       2
                   JOINT MOTION TO DISMISS WITHOUT PREJUDICE
Case 3:19-cv-00347-LAB-JLB Document 24 Filed 09/17/19 PageID.480 Page 3 of 4




  1
   David George, Esq.
 2 (Pro Hac Vice Forthcoming)
 3 BAKER WOTRING LLP
   700 JP Morgan Chase Tower
 4 600 Travis Street
   Houston,TX 77002
 5 Telephone: 713-980-1700
   Facsimile: 713-980-1701
 6 dgeorge@bakerwotring.com
 7
   Kevin D. Green, Esq.
 8 (Pro Hac Vice Application Forthcoming)
   CONSUMER ADVOCATE OFFICE OF KEVIN GREEN
 9 800 Brazos St. Suite 1309
10 Austin, TX 78701
   Telephone: (512) 695-3613
11 kevingreen68@gmail.com
12 Thomas J. Lyons Jr., Esq.
   (Admitted Pro Hac Vice)
13 CONSUMER JUSTICE CENTER P.A.
14 367 Commerce Court
   Vadnais Heights, MN 55127
15 Telephone: (651) 770-9707
   Facsimile: (651)704-0907
16 tommy@consumerjusticecenter.com
17
   Attorneys for Plaintiffs Tyanna Walker, Samantha Sanchez, Terry Hunt, Joe
18 Cardenas, Vladimir Tejada, Roberto Huerta, and Michelle Rice
19 By: Daniel S. Silverman
20 VENABLE LLP
21 Daniel S. Silverman (SBN 137864)
   dssilverman@venable.com
22 2049 Century Park East, Suite 2300
   Los Angeles, CA 90067
23 Telephone: (310) 229-9900
24 Facsimile: (310) 229-9901
25 Attorneys for The Control Group
   Media Company, LLC; Instant
26 Checkmate, LLC; and TruthFinder, LLC
27
28
                                    3
                JOINT MOTION TO DISMISS WITHOUT PREJUDICE
Case 3:19-cv-00347-LAB-JLB Document 24 Filed 09/17/19 PageID.481 Page 4 of 4




  1                            CERTIFICATE OF SERVICE
  2
           I hereby certify that on September 17, 2019 I electronically filed the foregoing
  3
    with the Clerk of Court using the CM/ECF system which will send notification of
  4 such filing to the e-mail addresses denoted on the Electronic Mail Notice List.
  5        I declare under penalty of perjury that the foregoing is true and correct.
  6
                                                   By:   /s/ Stephanie R. Tatar
  7                                                      Stephanie R. Tatar
  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                      4
                  JOINT MOTION TO DISMISS WITHOUT PREJUDICE
